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AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT

for the

Northern District of Texas

United States of America )
v. )
)
) Case No. 2:22-MJ-186
)
Timethy Marrugo )
)
Defendant(s)
CRIMINAL COMPLAINT
], the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of June and July 2022 in the county of Potter in the
Northern District of Texas , the defendant(s) violated:
Code Section Offense Description
Title 21, United States Code, Distribution and Possession with Intent to Distribute Methamphetamine.

Sections 841(a)(1), 841(b)(1)(C).

This criminal complaint is based on these facts:

see attached affidavit in support of complaint.

@% Continued on the attached sheet.

Chiistopher Brown, DEA SA

[ Printed name and title

i ee ’s signature

SAttested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone
(specify reliable electronic means).

pate [0/44/92 WV

Judge signature

City and state: Amarillo, Texas Lee Ann Reno, U.S. Magistrate Judge

Printed name and title

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No. 2:22-MJ-186
AFFIDAVIT IN SUPPORT OF COMPLAINT

I, Christopher Brown, being sworn, depose and state as follows:
1) I am a Special Agent (SA) with the Drug Enforcement Administration (DEA).

2) I am assigned to the DEA’s Amarillo Resident Office (ARO). I was hired as a
Special Agent with DEA in June 2019, and completed DEA Basic Agent Training
Academy, located in Quantico, Virginia in October 2019. In connection with my duties
and responsibilities as a Special Agent, I have received extensive training in the field of
narcotics trafficking investigations, including but not limited to, conducting surveillance,
smuggling, undercover operations, methods of packaging, utilizing confidential sources,
executing arrest and search warrants. Prior to my employment with the DEA, I was a
Vermont State Trooper for 7 years. During that time, I have made narcotic arrests and
assisted in narcotics investigations.

3) This affidavit is made in support of a complaint and arrest warrant for Timethy
MARRUGO. I am familiar with the information contained in this affidavit based upon
my own personal investigation, as well as conversations with other law enforcement
officers involved in this investigation.

4) In the month of June 2022, The Drug Enforcement Administration (DEA)
Amarillo Resident office (ARO) Agents initiated an investigation in to the drug
trafficking activities of Timethy MARRUGO.

5) On or about two separate dates in June 2022, DEA agents coordinated two
controlled purchase of one-quarter pound of methamphetamine each from MARRUGO a
residence at 1417 S Eastern Street. During the operations, Agents observed a CS enter the
residence and purchase methamphetamine from MARRUGO using Official Advanced
Funds (OAF).

6) On or about a date July 2022, Agents conducted another controlled purchase of a
half-pound of methamphetamine from MARRUGO at Wal-Mart parking lot located 3700
E IH-40, Amarillo, TX. During the controlled purchase operation, Agents observed
MARRUGO arrived at the Wal-Mart driving his brown 2011 Buick Enclave. Agents
observed MARRUGO exit his Buick carrying a red and black colored bag. MARRUGO
was observed entering the CS’s vehicle. After the purchase of methamphetamine,
physical surveillance observed MARRUGO exit the CS’s vehicle and re-enter his Buick.

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7) After the three controlled purchases of the suspected methamphetamine the
substance was field tested, which yielded a positive result for the presence of
methamphetamine. The three methamphetamine purchases had a combined weight of
approximately 461 grams.

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x

Ae

DEA Sp Brown

DEA Spgcial Agent

Attested to by telephone in accordance with the requirements of Fed. R. Crim. P. 4.1:

(0[Y ad at manila Th

Date City and State
Lee Ann Reno U.S. Magistrate Judge Au am Kon )
Name and Title of Judicial Officer Signature of Judicial Officer

(daria, Lull

Anna Marie B
Assistant U.S. /Attorn

